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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 14-CR-20014-RAR/BECERRA

  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  GREGORY ALLEN BLUE,

        Defendant.
  ______________________________/

                                              ORDER

         THIS CAUSE comes before the Court on Magistrate Judge Jacqueline Becerra’s Report

  and Recommendation on the Motion for Halfway House Placement (“Report”), entered on

  December 28, 2020 [ECF No. 348]. The Court notes that no objections have been filed and the

  time for doing so has now passed. Therefore, it is

         ORDERED AND ADJUDGED that the Report [ECF No. 348] is AFFIRMED AND

  ADOPTED and the Motion [ECF No. 341] is DENIED AS MOOT.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 12th day of January, 2021.



                                                       _________________________________
                                                       RODOLFO A. RUIZ II
                                                       UNITED STATES DISTRICT JUDGE

  cc: counsel of record
